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11   Attorneys for Plaintiffs GILBERT SAUCILLO, et al.
12 (Additional Attorneys for Plaintiff on next page)
13
                      IN THE UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
15
     JOHN BURNELL, JACK POLLOCK,                CASE NO. 5:10-CV-00809-VAP (OPx)
16                                              (Related to Case No. EDCV 12-00692-
     and all others similarly situated,
17                                              VAP-OPx)
                                                (Assigned to Hon. Virginia A. Phillips)
18                Plaintiffs,
                                                DECLARATION OF STANLEY D.
19 v.                                           SALTZMAN IN SUPPORT OF
                                                PLAINTIFF’S MOTION FOR FINAL
20                                              APPROVAL OF CLASS ACTION
     SWIFT TRANSPORTATION CO.                   SETTLEMENT AND CERTIFICATION
21                                              OF SETTLEMENT CLASS AND (B)
     OF ARIZONA, LLC,                           PLAINTIFF’S MOTION FOR AN
22                                              AWARD OF (1) ATTORNEY’S FEES TO
                  Defendant.                    CLASS COUNSEL, AND (2)
23                                              ENHANCEMENT TO PLAINTIFF
24                                              Complaint Filed:     March 22, 2010
                                                Trial Date:          None Set
25
26
27
28

                                                1
        Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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 1 Additional Attorneys for Plaintiffs:
 2 LAW OFFICES OF SHAUN SETAREH
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      Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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 1                     DECLARATION OF STANLEY D. SALTZMAN
 2 I, Stanley D. Saltzman, declare as follows:
 3          1.     I am an attorney licensed to practice in all Courts in the State of California. I
 4 am a partner with the firm of Marlin & Saltzman LLP, and Co-Class Counsel for the
 5 settlement class in the above-captioned action. This Declaration is submitted in support of
 6
     (A) Plaintiff’s Motion for Final Approval of Class Action Settlement and Certification of
 7
     Settlement Class and (B) Plaintiff’s Motion for an Award of (1) Attorney’s Fees to Class
 8
     Counsel, and (2) Enhancement to Plaintiff. Unless otherwise indicated, I have personal
 9
     knowledge of the facts set forth herein and could competently testify to them if called as a
10
     witness.
11
            2.     I graduated initially from the University of Montreal School of Law in 1977 (a
12
     totally French-language law school) and then from the Southwestern University School of
13
14
     Law here in Los Angeles, in 1979, at which time I was admitted to the California Bar. I

15 have been practicing litigation for more than thirty-nine years, and co-founded the firm of
16 Marlin & Saltzman back in 1985. Throughout my practice, I have specialized in a variety of
17 complex multi-party cases, of all nature and kind, have tried many cases to verdict, and for
18 the last twenty years have specialized in plaintiffs’ side contingency class actions, including
19 employment class actions, unfair competition and deceptive business practice cases, and
20 numerous consumer class actions against product manufacturers and retailers.
21          3.     Marlin & Saltzman has had a unique firm history since commencing
22 operations in 1985. Prior to transitioning to plaintiffs’ side representation (mostly in class
23 actions) approximately twenty years ago, the firm had previously focused entirely on the
24 defense of class and complex litigation, such that numerous exemplar defendant side cases
25
     are therefore also included in the listing of exemplar cases set forth below. The transition to
26
     the plaintiff’s side began about twenty years ago, and took about five years to complete.
27
     Since the transition was completed about fifteen years ago, the firm has focused on both
28
     employment and consumer class action cases.
                                               3
       Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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 1         4.     Since the transition to the plaintiffs’ cause, the firm has been fortunate enough,
 2 through extremely hard work and often intense litigation, to achieve settlement and trial
 3 results which have yielded over $900,000.000.00 in payments to the class members and
 4 clients in our cases.
 5        5.     Marlin & Saltzman is extremely experienced in litigating class action cases,
 6
     with well over one hundred class actions and complex commercial cases having been
 7
     handled, and it has acted as lead counsel or co-lead counsel in almost all of these matters. I
 8
     have been personally involved in most of the matters, and have been lead counsel within the
 9
     firm on over seventy five of the matters. More information on our firm is available at the
10
     firm website www.marlinsaltzman.com.
11
           6.     For the reasons addressed in support of preliminary approval, and for reasons
12
     described further in the Motion for Final Approval and for Fees, Costs and Incentives, and
13
14
     based on my thirty-nine (39) years maintaining an active litigation practice, I believe that

15 Plaintiffs have prosecuted this case passionately and effectively. I believe that the Settlement
16 is fair, adequate, reasonable, and that the Settlement sensibly accounts for the risks of further
17 litigation, including further appeals.
18 Attorneys’ Fees
19         8.     In this case, my firm has invested over 2,500 hours, as set forth in the
20 attached billing records. This case has been extremely actively litigated, and now sits at
21 over nine years since filing. I have been involved in the Burnell/Saucillo matter ever
22 since it was first brought to us by the intial filing counsel, Setareh Law Offices and The
23 Law Offices of David Spivak. We were asked to associate in during the summer of
24 2012, and to take the lead in the litigation and all of its complex issues. The tasks we
25
     performed required substantial staffing, although the primary lawyers involved included
26
     myself, partner Christina Humphrey, and senior associates Leslie Joyner and later David
27
     Leimbach, as well as our most senior paralegal, Susan Joseph and mid-level paralegal
28
     Jody Rosen. Others were brought in as needed for specific tasks, such as several more
                                               4
       Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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 1 junior paralegals who participated in handling calls from putative class members
 2 whenever we sent out letters to the class asking them to participate in the case by calling
 3 us to discuss their experiences with the Defendants.
 4         Over the most critical years of the case, from 2012 to 2016, we performed
 5 extremely substantial and often very challenging work, including taking numerous PMQ
 6
     depositions (seven such depositions), mostly in Phoenix, Arizona, prepared for and
 7
     defended our clients’ depositions (two sessions of Mr. Saucillo), and deposed third party
 8
     witnesses. We also responded to two Motions for Judgments on the Pleadings, and filed
 9
     and fully briefed the certification motion. In addition, we continually had to review
10
     thousands of pages of documents and pay produced by the Defendants, filed and
11
     prevailed on motions for further production, and interviewed dozens and dozens of
12
     putative class members. We also communicated regularly with our client plaintiffs, and
13
14
     with co-counsel and defendant. Later, after this Court denied certification, we also fully

15 briefed a petition for Rule 23f relief, which was ultimately denied. All of our work
16 rendered for this matter is set forth in the very detailed attached billing records,
17 referenced below.
18         Subsequently, in conjunction with counsel in the Rudsell matter, we prepared for
19 and participated in the mediation with Mr. Rudy which ultimately led to the settlement
20 now before the Court. Since then we have participated in the drafting of the settlement
21 documents, the settlement approval motions, and all other related duties, including
22 appearing at the Motion for Preliminary Approval.
23         9.     My current hourly of $925 per hour is consistent with prevailing market rates
24 in the relevant community for attorneys of comparable skill, experience and qualifications
25
     (i.e., the Central District of California). My hourly rate is reasonable based on both my
26
     experience as a class action lawyer and the hourly rates that have been approved by judges
27
     in this District and other federal district courts in California. My hourly rate is also
28
     reasonable in light of the Laffey Matrix, which has been utilized by courts in this and other
                                               5
       Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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 1 Districts to set reasonable rates for attorneys’ fees. The Laffey Matrix is available at
 2 http://www.laffeymatrix.com/see.html. The Laffey Matrix is adjusted for the cost of living
 3 in the Washington, D.C. area, which has a lower cost of living than the Los Angeles area,
 4 but which has a nearly identical mean wage for lawyers according to the U.S. Bureau of
 5 Labor Statistics, therefore not requiring an adjustment for Los Angeles rates. My hourly rate
 6
     is below that listed in the Laffey Matrix. Indeed, the reasonable hourly rate for an attorney
 7
     with more than 20 years of experience in the last published version of the study was $899
 8
     per hour, (20+ years out of law school, whereas I am now at 39 years), such that my current
 9
     hourly rate is $925. This is only $26 per hour over counterparts with only 20 years
10
     experience.
11
           The current hourly rates of the other attorneys who participated in this matter are also
12
     based upon comparisons with the rates charged in the community, as follows: Senior
13
14
     partner Mark Bradley, with 25 years of practice - $850; partner Christina Humphrey, with

15 18 years of practice - $800; and senior associates Leslie Joyner and David Leimbach, with
16 11 and 10 years respectively - $750 and $700. In addition, our senior-most paralegal Susan
17 Joseph is billed at $225 per hour, mid-level paralegal Jody Rosen is billed at $175 per hour
18 and several junior paralegals are billed at $125 per hour. Due to the extreme length of the
19 case, several of these persons are no longer with the firm, but I have included them at the
20 hourly rates for their years and positions, at current levels.
21         A chart demonstrating all of the hours incurred, and by whom, is now set forth:
22                          NAME         HOURS RATE              TOTAL
23                       Stanley D.
                         Saltzman          472.85      $925     $437,386.25
24                       Christina A.
                         Humprey            514.8      $800     $411,840.00
25                       Leslie Joyner     634.16      $750     $475,620.00
                         David
26                       Leimbach           198.9      $700     $139,230.00
27                       Susan Joseph      457.25      $225     $102,881.25
                         Marcus J.
28                       Bradley              14.5     $850      $12,325.00
                         Shannon
                         Crossley           5.65   $125          $706.25
                                                6
       Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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 1                       Jody Rosen          21.2     $175       $3,710.00
 2                       Craig Pynes        13.55     $800      $10,840.00
                         Miscellaneous     180.35     $175      $31,561.25
 3
 4                            TOTAL       2513.21            $1,626,100.00

 5         Finally, attached as Exhibit 1 hereto is a true and correct compilation of my firm’s
 6 hourly billings report.
 7 Costs Incurred
 8         10.    To date, Marlin & Saltzman has incurred costs in this litigation in the amount
 9 of $54,632.62. My firm’s cost records report for this matter is attached hereto as Exhibit 2.
10 These costs reflect the type of expenses typically billed by attorneys to their paying clients
11 in the marketplace, and include such costs as filing fees, deposition transcript and video
12
     fees, travel expenses (flights and hotels, plus mileage for out of town drives or taxi/Uber
13
     rides) for many out of town depositions (Phoenix), delivery fees, etc. All of these costs
14
     were incurred only as needed, and were continuously monitored by me. We do not charge
15
     for any out of town meals by our attorneys.
16
17
           I declare under penalty of perjury, under the laws of the State of California, that the
18
     foregoing is true and correct.
19
           Executed this 18th day of November, 2019, at Agoura Hills, California.
20
21
22                                                   /s/ Stanley D. Saltzman
                                                     Stanley D. Saltzman, “Declarant”
23
24
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                                               7
       Declaration of Stanley D. Saltzman ISO Motions for Final Approval and Atty Fees, Costs
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                          EXHIBIT 1
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                         EXHIBIT 1
         to Declaration of Stanley D. Saltzman


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 DATE                  NAME         HOURS                            DESCRIPTION
                                               Meeting in BH with Mr. Setareh re possibly associating into
                                               his ongoing case against Swift (including travel time from and
 8/10/2012 Stanley D. Saltzman             4.2 to Agoura Hills)
                                               Review pleadings and various case documents provided by
 8/11/2012 Stanley D. Saltzman             5.5 Mr Setareh

 8/15/2012 Stanley D. Saltzman             6.3 Continue study of case records and pleadings/discovery
                                               Assist Mr. Saltzman with review and analysis of case records,
 8/15/2012 Christina A. Humphrey             5 and commence case research.
                                               Extensive research re numerous trucking issues including
 8/16/2012 Christina A. Humphrey           8.5 preemption and FMCSA issues

 8/16/2012 Stanley D. Saltzman               7 Assist with research re preemption issues.

 8/22/2012 Stanley D. Saltzman             1.7 Review proposed CMC statement sent over by D counsel
                                               spoke to defense counsel and corrected proposed joint case
                                               management conference statement to be submitted with
 8/23/2012 Christina A. Humphrey           0.5 court.

 8/27/2012 Leslie H. Joyner                  6 Leslie H. Joyner: attended court hearing (CMC) in Riverside
                                               Attended case management conference in Riverside.
 8/27/2012 Christina A. Humphrey             6 (including drive time both ways)
                                               Meet with Christina re: this morning's hearing; discuss results
 8/27/2012 Craig Pynes                    0.25 of hearing with her and Stan;

 9/21/2012 Leslie H. Joyner                  6 Ddaft Rogs and RFPs, set one
                                               Entire day on discovery, including extneded conference with
                                               Mr. Saltzman and Ms. Humphrey re: RFPDs and ROGS;
 9/24/2012 Leslie H. Joyner                9.5 revise per their input.
                                               Extensive conference with Ms. Joyner re various pending
 9/24/2012 Christina A. Humphrey           7.5 discovery requests, and work on responses
                                               Extensive discovery review and workup with Ms. Humphrey
 9/24/2012 Stanley D. Saltzman             6.5 and Ms. Joyner

10/23/2012 Leslie H. Joyner                5.5 Work on responses to D's RFPs

10/24/2012 Leslie H. Joyner                  6 Continue work on RFP responses, Burnell

10/25/2012 Leslie H. Joyner                  8 responses RFPs set 2 Burnell
                                               Finalize RFPs and ROGs to Burnell for Christina to Review -
 11/1/2012 Leslie H. Joyner                  3 DUE MONDAY 11/5/2012

 11/2/2012 Leslie H. Joyner                5.5 Burnell 2 and Pollock 1 - RFP responses

 11/5/2012 Christina A. Humphrey           3.5 Burnell RFPs and Rogs set one finalized and sent.

 11/6/2012 Leslie H. Joyner                  2 Burnell and Pollock responses

 11/7/2012 Leslie H. Joyner               1.75 responses - pollock and burnell
                                               Review Client documents and organize for pollock and
 11/8/2012 Leslie H. Joyner                8.5 burnell RFP responses

 11/9/2012 Leslie H. Joyner                7.5 pollock and burnell responses

11/12/2012 Leslie H. Joyner                5.5 finish draft responses - pollock and burnell



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                                               Finalize RFPs for Burnell and Pollock, draft key of
11/13/2012 Leslie H. Joyner                  4 responnsive docs for CH

11/19/2012 Leslie H. Joyner               1.25 Finalize to mail Burnell Rogs set 2; Pollock Rogs set 1

11/19/2012 Leslie H. Joyner                  2 Revise RFPs set 2 Burnell to mail.

11/20/2012 Leslie H. Joyner                0.5 Revise Pollock RFPs 1

11/20/2012 Leslie H. Joyner                6.5 convert image files to PDF and assemble for production

11/20/2012 Leslie H. Joyner               0.15 Make CH corrections to RFPs Burnell and Pollock

11/20/2012 Leslie H. Joyner                0.5 Draft letter to OPC re: Burnell Responsive Docs

11/20/2012 Leslie H. Joyner                0.5 Update and revise Production key for Ps

11/26/2012 Leslie H. Joyner                  3 Draft PMK

 12/5/2012 Leslie H. Joyner                  1 Phone conference with Susan, Burnell

12/17/2012 Leslie H. Joyner                1.5 Prepare documents for production

  1/2/2013 Craig Pynes                     0.4 Review Notice of document production and skim documents;
                                               Review Defendant's Discovery responses and draft meet and
  1/5/2013 Leslie H. Joyner                 13 confer letter
                                               Assist with review of discovery received from D and assist
                                               attorney Joyner with preparing first draft of meet and confer
  1/5/2013 Stanley D. Saltzman             8.5 letter.

 1/14/2013 Craig Pynes                     0.2 Review emails re: case status and workup;

 1/15/2013 Craig Pynes                     0.2 Review emails re: case workup items;

 1/17/2013 Leslie H. Joyner                  3 review docs produced by defendant and final M&C letter

 1/28/2013 Susan Joseph                      1
                                               1 hour preparation of conference call re meet and confer
                                               discovery; and 1 hour conference call with opposing counsel
                                               meet and confer RPD and Interr 1 to Swift and RPD and
 1/28/2013 Christina A. Humphrey             2 Interr 1 to Plaintiffs.

 1/28/2013 Leslie H. Joyner                  4 Prepare for M&C

 1/28/2013 Leslie H. Joyner                  2 M&C re: Discovery Responses

 1/29/2013 Leslie H. Joyner                0.5 Draft confirming email re: M&C
                                               Meeting with Leslie re supplementing Plaintiff's discovery,
  2/6/2013 Christina A. Humphrey           0.5 PMK, and status of case.
                                               Discussion with Batza re investigation re drivers and
  2/6/2013 Christina A. Humphrey           0.3 compensation schemes.

  2/6/2013 Christina A. Humphrey           0.1 reviewed draft PMK.

  2/7/2013 Leslie H. Joyner                  3 Supp rogs/RFPs pollock/burnell




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 2/7/2013 Christina A. Humphrey           1.2 Reviewed and edited PMK notice.
                                              Review and approve the proposed PMK notice and
 2/7/2013 Stanley D. Saltzman             2.2 categories to be addressed

 2/8/2013 Leslie H. Joyner                  3 Discovery reponses by Defendant. categorize for call
                                              Leslie and I met re Defendant's discovery responses (Set
                                              One) to prepare for meet and confer meeting with opposing
 2/8/2013 Christina A. Humphrey           1.4 counsel.
                                              Meet and confer with opposing counsel re Defendant's
                                              discovery respones (Set One); disdcussion of production of
                                              class list, partial meet and confer on Def. Motion for
                                              Judgment on the Pleadings, and meet and confer moving
 2/8/2013 Christina A. Humphrey           0.6 class discovery deadline.
                                              Discussion/email of PMK notice to opposing counsel and
 2/8/2013 Christina A. Humphrey           0.5 email outlining stip to move deadlines for class cert.
                                              Pulled and examined complaint of related case filed in
                                              Northern District to determine whether the claims made in our
                                              case overlapped the claims in that case. Discussion with
 2/8/2013 Christina A. Humphrey           3.5 Mark and STan.

 2/8/2013 Leslie H. Joyner                0.5 meet & confer
                                              Drafted meet and confer confirmation email re class list and
                                              payroll database (all requested in discovery) all discussed in
 2/8/2013 Christina A. Humphrey           0.5 conference call 2/8/13.

 2/8/2013 Christina A. Humphrey           0.3

 2/8/2013 Stanley D. Saltzman             2.5 Partner conference re. action filed in the Northern District

2/11/2013 Leslie H. Joyner                0.5 Meet & Confer

                                              Conference call with opposing counsel re Defendant's
2/11/2013 Christina A. Humphrey           1.5 discovery responses to Special Rogs Set One and RPD 3.
                                              Edited/drafted letter to opposing counsel re electronic
2/12/2013 Christina A. Humphrey           0.2 preservation of data.
                                              Researched local rules/FRCP re dpeosition notices and
                                              dates; discussed strategy to get discovery completed in Swift
2/12/2013 Christina A. Humphrey           0.5 in time for certification with Stan.

2/12/2013 Leslie H. Joyner                  3 meet and confer letter
                                              Drafted email re meet and confer certification deadlines, def
                                              motion for jugment on the pleadings, def discovery
2/13/2013 Christina A. Humphrey           1.2 responses, strategize with Stan Saltzman.

2/14/2013 Leslie H. Joyner                2.5 Draft disc. letter, contact (attempt to) Ps re: supp responses.
                                              Discuss case with Burnell; further review of responses to
2/15/2013 Leslie H. Joyner               3.75 discovery.
                                              Telephone call with Deb Pollock; Telephone call with Jack
2/15/2013 Susan Joseph                    1.2 Pollock; e-mail to clieint re same.

2/15/2013 Stanley D. Saltzman               3 Review supplemental discovery responses.

                                              Prepare outline of likely motion areas for motions to compel
2/15/2013 Stanley D. Saltzman             2.5 as to D's responses to numerous discovery issues.




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2/16/2013 Leslie H. Joyner                6.5 Research re. possible Discovery Motions

2/17/2013 Leslie H. Joyner                 10 Rogs/RFPs/PMK

2/18/2013 Leslie H. Joyner                8.5 PMK/ROGS/RFPS

2/19/2013 Leslie H. Joyner                6.5 PMK preparation

2/19/2013 Christina A. Humphrey           1.2 edits to joint stip for motioni to compel discovery responses.
                                              Conference calll; communciation re datal; review materials re
2/20/2013 Susan Joseph                    2.5 data

2/20/2013 Leslie H. Joyner                  2 Rog/RFPs and stip

2/20/2013 Leslie H. Joyner                0.5 email clients RE: depo dates and verifications
                                              review pmk categories and outstanding discovery issues for
                                              conference call; conference call with CAH, SJ and OPC;
2/20/2013 Leslie H. Joyner               2.75 meeting with Christina...
                                              review pmk categories and outstanding discovery issues for
                                              conference call; conference call with Leslie, SJ and OPC;
2/21/2013 Christina A. Humphrey          2.75 meeting with Leslie...

2/23/2013 Leslie H. Joyner               0.15 call/email pollock/burnell about depos - urgent

2/25/2013 Susan Joseph                    0.5 Telephone conference with client.
                                              Review emails re: various case workup issues; review
                                              complaint re: case background; discuss same and workup
                                              with Susan; prepare email to Christina, etc. on workup
                                              issues; meet wtih Leslie re: motion to amend; discuss same
 3/7/2013 Craig Pynes                     2.4 with Christina; review system and

 3/7/2013 Leslie H. Joyner                  1 Pollock RFPs, contact client's wife
                                              Dismissal of Pollock; leave to amend to add new plaintiff,
 3/7/2013 Leslie H. Joyner                  5 motion to intervene, etc
                                              Review and respond to emails with Christina re: stipulation to
                                              drop plaintiff, amending complaint and other issues; review
                                              other emails re: same; review stip and emails re; same;
                                              research numbers for and cold call putative class members
 3/8/2013 Craig Pynes                     0.6 on list;

 3/8/2013 Christina A. Humphrey           1.2 edited discovery motion to compel interrogatories and rfp.
                                              Continue calling potential class reps; review and respond to
3/11/2013 Craig Pynes                     0.6 emails with Chrstina re: same;

3/12/2013 Christina A. Humphrey           0.2 conference call Paul Cowie re discovery, dates PMK.
                                              Continue calling putative class members to locate class rep;
                                              review and respond to email with Christina re: same; prepare
                                              emails to them re: same; Interview Sam Cunanan re: trucking
                                              issues and acting as a class rep; prepare email to Stan and
3/12/2013 Craig Pynes                     1.4 Christina re:

3/13/2013 Christina A. Humphrey           0.3 edited pre-cert letter.




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                                  MARLIN SALTZMAN : Attorney Hours




                                              Review court order approving stip continuing deadlines and
                                              email re: same; review and respond to emails re: same; print
3/13/2013 Craig Pynes                     0.5 out copy for SDS; review meet and confer emails;

3/15/2013 Craig Pynes                     0.2 Review emails re; payroll data discovery;
                                              Review multiple emails re: production and depositions;
3/19/2013 Craig Pynes                     0.6 telephone calls to potential class representatives;
                                              Telephone conferences with class list members re: acting as
3/21/2013 Craig Pynes                     2.4 class reprs; meet with Mr. Saltzman re: same;

3/21/2013 Susan Joseph                    0.3 Conference call re production of pay plans.

3/21/2013 Leslie H. Joyner                0.2 draft emails to burnell re depo dates

3/21/2013 Leslie H. Joyner                0.5 conference with CAH, SJ and OPC re: Rogs and RFPS
                                              Review ongoing results of call with class members and meet
3/21/2013 Stanley D. Saltzman             1.5 with Mr. Pynes
                                              Review statewide distribution of mailing list for letters to
3/22/2013 Christina A. Humphrey           2.5 putative class members.

3/26/2013 Karin Turner                    3.8 Send letters to putative class members.

3/26/2013 Leslie H. Joyner                0.1 Email to Burnell re: depo dates
                                              Begin to prepare detailed outline of questionnaire for callers
3/26/2013 Stanley D. Saltzman               5 from letter to be mailed to class members.

3/26/2013 Stanley D. Saltzman             2.5 Confer with staff re. interviews of callers.
                                              Conference call with OPC Cowie, SJ, SS, CH re: Driver pay
3/26/2013 Leslie H. Joyner                0.5 and MTC Rogs and RFPs
                                              Various tasks related to pre-cert notice including: organizing
                                              calls, interviewing drivers, revising interview form, updating
                                              spreadsheet, memorializing conversations, e-mails and
3/28/2013 Susan Joseph                      8 conferences re same.
                                              Various tasks related to pre-cert notice including: organizing
                                              calls, interviewing drivers, revising interview form, updating
                                              spreadsheet, memorializing conversations, e-mails and
3/29/2013 Susan Joseph                      4 conferences re same.

3/29/2013 Scott Sexton                    3.5 Various tasks related to pre-cert notice.
                                              T/C with client and explanation of letters beiong mailed out to
 4/1/2013 Leslie H. Joyner                2.1 the class of drivers. Address his concerns
                                              Various tasks related to pre-cert notice including: organizing
                                              calls, interviewing drivers, revising interview form, updating
                                              spreadsheet, memorializing conversations, e-mails and
 4/1/2013 Susan Joseph                      7 conferences re same.

 4/1/2013 Craig Pynes                     0.2 Review emails re: responding to calls;
                                              Various tasks related to pre-cert notice including: organizing
                                              calls, interviewing drivers, revising interview form, updating
                                              spreadsheet, memorializing conversations, e-mails and
 4/2/2013 Susan Joseph                      9 conferences re same.
                                              Confer with staff receiving calls regarding initial feedback
 4/2/2013 Stanley D. Saltzman             2.5 from the callers.

 4/2/2013 Karin Turner                    1.1 Interview with putative class member;



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4/2/2013 Leslie H. Joyner           0.5 Call with OPC re: Discovery and MTC

4/3/2013 Jody Rosen                 1.5 Handle call from class member

4/3/2013 Jody Rosen                 0.5 Interviewed Stanley Wilard, a class member

4/3/2013 Jody Rosen                 0.7 interviewed Rod Couch, a class member
                                        Various tasks related to pre-cert notice including: organizing
                                        calls, interviewing drivers, revising interview form, updating
                                        spreadsheet, memorializing conversations, e-mails and
4/4/2013 Susan Joseph                 7 conferences re same.

4/4/2013 Jody Rosen                 1.5 interviewed two class members

4/4/2013 Jody Rosen                 0.5 interviewed David Cote, a class member

4/4/2013 Karin Turner               0.4 Update class member addresses to spreadsheet.

4/4/2013 Jody Rosen                 0.4 Interviewed George Billow, a class member
                                        Various tasks related to pre-cert notice including: organizing
                                        calls, interviewing drivers, revising interview form, updating
                                        spreadsheet, memorializing conversations, e-mails and
4/5/2013 Susan Joseph                 3 conferences re same.

4/5/2013 Jody Rosen                 0.4 interviewed Conrad Nepote, a class member

4/5/2013 Leslie H. Joyner           4.5 Review numerous client interviews prepared by paralegals

4/5/2013 Jody Rosen                 0.4 interviewed Cindy, a class member

4/5/2013 Jody Rosen                 0.5 interviewed Ronda Campbell, a class member

4/5/2013 Jody Rosen                0.45 Interviewed Jacques Reid, a class member

4/5/2013 Jody Rosen                 0.3 interviewed Perry Barnett, a class member

4/5/2013 Karin Turner               0.6 Interview with putative class member.

4/6/2013 Karin Turner              0.15 Update putative class member addresses.

4/8/2013 Jody Rosen                 0.3 interviewed Glenn DelHierro, a class member

4/8/2013 Jody Rosen                 0.3 interviewed Luis Rios, a class member

4/8/2013 Jody Rosen                0.25 interviewed Hugo Hileso, a class member

4/8/2013 Jody Rosen                 0.2 Interviewed Charles Smith, a class member

4/8/2013 Jody Rosen                 0.5 Interviewed Michael O'Brien, a class member

4/8/2013 Jody Rosen                 0.5 interviewed Joel Alvarado, a class member

4/8/2013 Jody Rosen                0.45 interviewed Jonathan Hill, a class member

4/8/2013 Jody Rosen                0.35 Spoke with Jamshid Rajabpoor, a class member




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 4/8/2013 Shannon Crossley           0.5 Call from Class Member

 4/9/2013 Jody Rosen                 0.8 Interviewed Melvin Jones, a class member

 4/9/2013 Jody Rosen                0.25 interviewed Ronald Powers, a class member

 4/9/2013 Shannon Crossley          0.55 Interviewed Steve McCarter.

 4/9/2013 Jody Rosen                0.65 interviewed Gil Marquez, a class member

 4/9/2013 Shannon Crossley           0.3 Interviewed Dale Johnson.

 4/9/2013 Jody Rosen                 0.4 interviewed Les Johnson, a class member

 4/9/2013 Shannon Crossley          0.25 Interviewed Carl Converse

 4/9/2013 Shannon Crossley           0.3 Interviewed German Nava

 4/9/2013 Shannon Crossley          0.25 Inverviewed Jerry McGill

 4/9/2013 Shannon Crossley          0.45 Interviewed Robert Placentia

 4/9/2013 Shannon Crossley          0.25 Inverviewed Gregory Wilson

 4/9/2013 Jody Rosen                 0.4 interviewed Kevin Connors, a class member

 4/9/2013 Karin Turner               0.4 Interview with putative class member.

 4/9/2013 Shannon Crossley           1.1 Further caller from class member

 4/9/2013 Karin Turner               0.7 Interview with putatice class member.

 4/9/2013 Karin Turner               0.7 Interview with putative class member.

 4/9/2013 Jody Rosen                0.25 interviewed Candace Byers, a class member

4/10/2013 Jody Rosen                0.25 interviewed Edward Avilez, a class member

4/10/2013 Jody Rosen                 0.5 interviewed Robert Bailey, a class member

4/10/2013 Jody Rosen                0.45 interviewed Charles Fitts, a class member

4/10/2013 Shannon Crossley           0.4 Interviewed Leonard Bennett

4/10/2013 Leslie H. Joyner          1.25 Call from client Burnell

4/10/2013 Jody Rosen                0.25 interviewed Jose Ramirez, a class member

4/10/2013 Leslie H. Joyner          0.33 finalize Burnell Supp RFPS

4/10/2013 Jody Rosen                0.25 interviewed Matthew Escarcega, a class member

4/10/2013 Jody Rosen                0.35 interviewed Marty Padilla, a class member

4/10/2013 Jody Rosen                 0.3 interviewed Wenford Morgan, a class member




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4/10/2013 Shannon Crossley             0.25 Interviewed James Presz

4/11/2013 Jody Rosen                    0.2 Interviewed Don Lingenfelter, a potential class member

4/11/2013 Jody Rosen                   0.55 Interviewed Joyce Bell, a class member

4/11/2013 Shannon Crossley             0.25 Interviewed Marissa Harding.

4/11/2013 Shannon Crossley              0.2 Interviewed Anthony Callaghan

4/12/2013 Jody Rosen                   0.25 Interviewed Peter, a potential class member

4/12/2013 Jody Rosen                   0.35 interviewed Donald Trigg, a class member

4/15/2013 Shannon Crossley              0.6 Interviewed Dwayne and Robert Lane (Brothers)

4/16/2013 Jody Rosen                   0.35 Interviewed Shaun Layton, a possible class member

4/16/2013 Jody Rosen                   0.25 interviewed Jacqueline White, a possible class member

4/16/2013 Jody Rosen                   0.25 interviewed Fernando Borja, a class member
                                            Begin organizing memos of calls from Class contacts, review
4/16/2013 Susan Joseph                  9.5 and organize questionnaires, update call list.

4/16/2013 Jody Rosen                   0.75 interviewed Bard Desaboya, a class member

4/16/2013 Leslie H. Joyner              7.5 opposition to MJOP
                                            Class contacts including interviews, review and organize
                                            questionnaires, update call list. Detailed interview with Gilbert
4/17/2013 Susan Joseph                    2 Saucillo, report re same.

4/17/2013 Jody Rosen                    0.5 interviewed Alberto Marines, a class member

4/17/2013 Leslie H. Joyner                9 Work on Opp to MJOP

4/18/2013 Leslie H. Joyner              8.5 Continue work on OPP to MJOP

                                            Review ongoing draft of opp to critical motion for judgment on
4/18/2013 Stanley D. Saltzman             6 the pleadings; confer with associate re the same.

4/19/2013 Leslie H. Joyner              8.5 New cases; revise Opp MJOP

4/19/2013 Leslie H. Joyner                2 Opposition; revise Brinker and Cole sections

4/20/2013 Leslie H. Joyner              6.5 Revise citations; final doc for filing (extract meta data)
                                            Review near final draft of opp to MJOP, and make edits and
                                            suggestions throughout. Return to associate for further
4/20/2013 Stanley D. Saltzman             7 finalizing.

4/22/2013 Jody Rosen                    0.3 Interviewed Jo Dunca, a potential class member

4/22/2013 Jody Rosen                   0.35 Interviewed Nicole La Mothe, a possible class member
                                            revise Motion; insert TOA; draft RJN, prepare exhibits to
4/22/2013 Leslie H. Joyner                7 RJN; draft proposed order; prepare for filing




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4/23/2013 Susan Joseph                      1 Class member interviews.

4/29/2013 Leslie H. Joyner               2.75 Review Reply Opp MJOP

4/30/2013 Leslie H. Joyner                1.5 Telecon with plaintiff Burnell

4/30/2013 Stanley D. Saltzman             3.5 Review and analysis of D's Reply to the MJOP

 5/2/2013 Jody Rosen                      0.8 interviewed a swift driver

 5/2/2013 Jody Rosen                      1.2 interviewed Adam Lev, a class member

 5/2/2013 Christina A. Humphrey           1.1 draft stip to continue cert dates; emailed to opp counsel.

                                              Discuss with Christina re: prior driver who may be able to act
 5/2/2013 Craig Pynes                     0.4 as class rep; telephone conferences wtih driver re: same;

 5/8/2013 Leslie H. Joyner                2.5 Pull cases for motion

 5/8/2013 Stanley D. Saltzman             7.3 Work on preparation for oral argument on upcoming motion
                                              Review case information and prepare email to Mr. Saltzman
                                              re: same; discuss same with Leslie; review and respond to
 5/9/2013 Craig Pynes                     1.4 emails with her re: same;

5/10/2013 Leslie H. Joyner                  8 Re: issues raised in in Swifts Rply MJOP; draft memo
                                              Prepared for oral argument on Def. Motion for Judgment on
                                              the Pleadings scheduled for May 13; re-reviewed all cases
5/11/2013 Christina A. Humphrey           6.5 and arguments
                                              Prepared for hearing on Def Moton for Judgment on the
5/12/2013 Christina A. Humphrey            10 Pleadings scheduled Monday, May 13.

5/12/2013 Leslie H. Joyner               4.75 Internal work up for swift hearing
                                              Worked with Ms. Humphrey in preparing for hearing on
5/12/2013 Stanley D. Saltzman             6.5 MJOP; outlining of issues for oral argument.

5/13/2013 Craig Pynes                     0.7 Review emails re: reply arguments; review reply brief;
                                              Travelled, prepared for (reviewed new US Supreme Court
                                              case Pilkey), and attended hearing on Defendant's Motion for
                                              Judgment on the Pleadings; research after returning to
5/13/2013 Christina A. Humphrey            11 Agoura Hills office.
                                              Research re new Pelkey decision, travel to and from
                                              Riverside for Swift MJOP; further research upon return to
5/13/2013 Leslie H. Joyner                 12 office.

5/14/2013 Susan Joseph                      1 Class member contacts.

5/14/2013 Leslie H. Joyner                  9 Research re Pelkey decision; begin supp briefing
                                              Interviewed Gilbert Saucillo and spoke at length about
5/21/2013 Christina A. Humphrey           1.1 serving as a rep plaintiff.

5/21/2013 Leslie H. Joyner                7.5 Preemption research; nationwide research
                                              spoke to potential class member re her husband's passing
5/22/2013 Christina A. Humphrey           0.2 and wehther or not the estate can make a claim.
                                              drafted email to opposing counsel re stip to continue class
5/24/2013 Christina A. Humphrey           0.1 cert dates and meet and confer re discovery.



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                                              Research re withdrawal of named plaintff, motion to amend
5/24/2013 Leslie H. Joyner                  7 vs. intervene

5/28/2013 Christina A. Humphrey           0.9 reviewed retainer and letter to new plaintiff Saucillo

5/31/2013 Leslie H. Joyner               5.5 Research re. appeal of ruling on MJOP
                                             reserached proper procedure to appeal and timeline for
 6/3/2013 Christina A. Humphrey          6.4 appeal, pulled Rule 54 motions.
                                             re-formatted stiplulation to continue certificatioin deadlines,
                                             drafted email to oppsing counsel addressing deadlines, and
                                             various other discovery issues; discussion with Stan re stip
 6/3/2013 Christina A. Humphrey          1.1 dates.
                                             Join in researching our appellate rights and procedures re.
 6/3/2013 Stanley D. Saltzman              5 MJOP
                                             draft motion to amend to add new P, legal research,
                                             amended complaint, conferences on intervention vs.
6/25/2013 Leslie H. Joyner             11.25 amending, stip to withdraw Pollock
                                             Work with Ms. Joyner on amendment of complaint issues,
6/25/2013 Stanley D. Saltzman            5.5 new plaintiff and research re all relevant issues.

6/26/2013 Leslie H. Joyner                6.5 Prepare notice of appeal; motion for entry of final judgment

6/26/2013 Leslie H. Joyner                1.5 appeals and intervention vs amending: discuss with Kiley

 7/1/2013 Susan Joseph                   0.25 Communications.

 7/2/2013 Leslie H. Joyner                1.5 Discuss Pollock, appeal, amend v. intervention

 7/2/2013 Christina A. Humphrey           1.5 Discuss Pollock, appeal, amend v. intervention
                                              Research and work on motion to file SAC adding new class
7/11/2013 Leslie H. Joyner                 11 rep

7/14/2013 Leslie H. Joyner                  7 Draft Opp MTN Stay and prepare Exhibits

7/15/2013 Christina A. Humphrey           6.5 Edited and finalized Opposition to Motion to Stay case.

7/15/2013 Leslie H. Joyner                  7 Opp Motion to Stay

7/15/2013 Leslie H. Joyner                  3 For leave to File SAC
                                              edited and reviewed Rule 54 notice of motion, motion,
                                              proposed order, and declaration of christina a humphrey in
7/16/2013 Christina A. Humphrey           1.7 support thereof.
                                              finalize motion for entry final judgment and motion to file
                                              SAC; draft two declaration for CAH; prepare exhibits to
                                              Motion to file SAC; draft proposed Orders for both motions;
                                              draft/finalize three stips (Pollock withdraw, move hearing
7/16/2013 Leslie H. Joyner                9.5 dates and final judg

7/19/2013 Leslie H. Joyner                1.5 3 stips and orders, communicate with OPC, prepare for filing

7/22/2013 Christina A. Humphrey          0.25 Spoke with rep plaintiff re various occurrences at work.
                                              Reviewed opp Motion for Rule 54 and opp Motion to amend
7/30/2013 Christina A. Humphrey           2.5 to add Saucillo, discussed with Leslie.
                                              RE replies to D's Opps to motions to amend complaint and
                                              ofr entry of final judgment pursuant to rule 54b on meal and
7/30/2013 Leslie H. Joyner                6.5 rest break claims



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                                              legal ad factual research (communications with counsel and
                                              discovery) - draft reply ISO Motion for Final Judgment; begin
7/31/2013 Leslie H. Joyner                8.5 drafting Reply ISO motion SAC

                                              Legal and factual research on D's claims in Opposition to Ps'
                                              motion to file SAC; conference with Saltzman and Humphrey
 8/1/2013 Leslie H. Joyner               7.25 re: responses, revise into and develop legal argument.
                                              Work with Ms. Joyner on reply to D's opp to the motion to
 8/1/2013 Stanley D. Saltzman             4.3 amend

 8/2/2013 Leslie H. Joyner               0.75 Stip and Order
                                              revise reply ISO entry final judgment re dilts MSJ;
                                              distinguishes cases and rules cited by defendant for Reply
 8/2/2013 Leslie H. Joyner                  5 ISO motion to amend - legal research.
                                              revise replies per CAH, draft CAH dec. prepare exhibit, meet
 8/5/2013 Leslie H. Joyner                  3 with SDS re stip, revise Stip

 8/5/2013 Susan Joseph                    0.5 re Reply

                                              Revised reply briefs and declarations, reviewed exhibits in
 8/6/2013 Christina A. Humphrey             7 support of motion to amend and motion for final judgment.

8/19/2013 Craig Pynes                     0.2 Discuss with Stan re: today's hearing;
                                              Prepare binder of motions, Oppositions and replies; Pull stip
8/19/2013 Leslie H. Joyner                7.5 and order for court; Hearing in Riverside at 2pm
                                              Prepared for hearing on Def Motion to Stay, Pl Motion for
                                              Final Judgment, Pl Motion to Amend Complaint, attended
8/20/2013 Christina A. Humphrey           9.5 hearing on motions.

                                              Review Court's Minute Order Granting and Denying Various
8/23/2013 Craig Pynes                     1.1 motions; review and respond to emails with Sandy re: same;
                                              edited notice of appeal, researched rule re filing notice of
 9/3/2013 Christina A. Humphrey          3.75 appeal, designating transcript, and filing fee.
                                              review discovery status of case from where we left off for
9/10/2013 Leslie H. Joyner                  2 conference call with defense counsel

9/10/2013 Christina A. Humphrey          0.25 Conference call with opposing counsel re discovery issues.
                                              reviewed email confirming meet and confer issues; looked at
9/10/2013 Christina A. Humphrey           0.5 dates for possible PMKs.

9/10/2013 Leslie H. Joyner               0.25 Conference call re: discovery issues

9/10/2013 Susan Joseph                      2 Review, index and summarize discovery.
                                              Meet with Mr. Saltzman and review discovery from where left
9/10/2013 Leslie H. Joyner                  4 off in April for M&C letter and email
                                              DRaft M&C letter re Plaintiffs' and Defendant's outstanding
9/10/2013 Leslie H. Joyner               2.75 discovery obligations.

9/10/2013 Leslie H. Joyner               0.75 Draft email from CAH to OPC re: telephone conference
                                              Meet with Ms. Joyner to go over pending discovery from prior
9/10/2013 Stanley D. Saltzman               3 to recent motion work
                                              Review, index and summarize discovery; prepare PMK
9/11/2013 Susan Joseph                      1 notice.
                                              RFPs set two, revise M&C letter, prepare docs for production,
9/11/2013 Leslie H. Joyner               8.25 revise/update Burnell Supp RFPs and Rogs




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                                               Supp rogs/ rfps burnell - finalize and send. review saucillo
 9/16/2013 Leslie H. Joyner                1.3 requests

                                               edited supplemental discovery responses for Burnell; drafted
 9/16/2013 Christina A. Humphrey             2 email re edits and issues to follow up on for collecting docs.
                                               reviewed meet and confer letter to opposing counsel re Def
 9/16/2013 Christina A. Humphrey           0.4 responses to RPD 1 and Sp Rogs 1.
                                               reviewed, edited, and added to Plaintiff's Request for
 9/16/2013 Christina A. Humphrey           0.5 Production of Docs to Def. Set No. 2.

 9/23/2013 Susan Joseph                    0.5 Discuss PMKwith CAH and LHJ

                                               spoke to putative class member Bart Desboya re potential
 9/23/2013 Christina A. Humphrey           0.5 claims and interviewed regarded his terminal and complaints.
                                               Interviewed Gilbert Saucillo re various facts pertinent to
 9/23/2013 Christina A. Humphrey           1.1 meeting and conferring regarding scope of PMK notice.
                                               Studied D's 10-K filings and referred to Ms. Humphrey for
 9/23/2013 Stanley D. Saltzman             2.5 further analysis.
                                               researched Swift's website, 10-k report, and drafted meet
                                               and confer letter re how to narrow down the categories for
 9/24/2013 Christina A. Humphrey             5 PMK.

 9/25/2013 Christina A. Humphrey           0.6 drafted response to mediation questionnaire.

 9/25/2013 Christina A. Humphrey           1.4 drafted PMK notice for categories 12-13.

 9/27/2013 Christina A. Humphrey           0.9 Interviewed former manager Randolf Boots, emailed others.

 9/30/2013 Susan Joseph                   0.25 Tel con with Saucillo; e-mail re same

 10/1/2013 Christina A. Humphrey           0.6 reviewed docket/analyzed rule for desigating transcript, etc.
                                               Examined rule designating transcript for appeal, emails,
 10/1/2013 Christina A. Humphrey           0.6 edited marking of docket for designation.
                                               Read letters from opposing counsel re production of pay
                                               packages and meet and confer letter to file a motion for
 10/1/2013 Christina A. Humphrey           0.3 judgment on the pleadings.

 10/1/2013 Leslie H. Joyner                2.4 Appeal deadlines

 10/3/2013 Leslie H. Joyner                0.6 set up saucillo initial disclosures

 10/3/2013 Leslie H. Joyner                0.5 Letter and verification to saucillo

 10/4/2013 Christina A. Humphrey           0.1 email to opposing counsel re appellate transcript.

 10/9/2013 Leslie H. Joyner                1.2 Saucillo re discovery responses and initial disclosures
                                               Finalize Rog and RFP responses due 10/16 and 10/18; draft
 10/9/2013 Leslie H. Joyner                1.8 intial disclosures

10/10/2013 Leslie H. Joyner               0.75 Pull docket items for appeal

10/10/2013 Leslie H. Joyner                0.8 Appeal rules - 9th cir.
                                               reviewed Ruan case, spoke to Stan, drafted emails re
                                               thoughts and responses to Defendant's Sept 27 meet and
10/11/2013 Christina A. Humphrey           1.4 confer letter.




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10/11/2013 Leslie H. Joyner               0.75 Subpoena and doc request - qualcomm

10/12/2013 Leslie H. Joyner                0.2 revise ESI letter

10/16/2013 Christina A. Humphrey           1.1 Edited Saucillo's responses to Def RPD Set one, 1-26.

10/17/2013 Christina A. Humphrey           1.4 edited Saucillo's responses to RPD 27-60.
                                               email communication with Paul Cowie re stip to extend
                                               responses to discovery and email setting forth terms of
10/17/2013 Christina A. Humphrey           0.1 briefing schedule for FAAAA against wages.

10/17/2013 Leslie H. Joyner                  1 Make changes to responses, collect documents, mail to Swift
                                               Drafted email to opposing counsel re briefing schedule for
10/21/2013 Christina A. Humphrey           0.3 Defendant 12(b)(6).
                                               reviewed and edited follow up ESI preservation letter to
10/22/2013 Christina A. Humphrey           0.7 SWift.

10/22/2013 Stanley D. Saltzman             7.5 Begin to review recently produced pay plans
                                               drafted email paul cowie re moving class cert deadline dates;
10/30/2013 Christina A. Humphrey           0.4 reviewed dates to determine briefing schedule.
                                               Discussion with Paul Cowie re extension outstanding
11/11/2013 Christina A. Humphrey           0.4 discovery and preservation of ESI data.

11/18/2013 Leslie H. Joyner               0.75 Draft PMK Notice on Customer contracts
                                               reviewed and edited Saucillo's responses to Spec Rogs 1
  1/3/2014 Christina A. Humphrey           1.1 and obtained verification.
                                               drafted meet and confer letter re Def objections to 30(b)(6) 1-
                                               3 categories in relation to Def Motion for Judgment on the
  1/3/2014 Christina A. Humphrey           2.2 Pleadings FAAAA wages.
                                               reviewed Defendant's ESI letter dated December 13 and
  1/3/2014 Christina A. Humphrey           0.4 looked up past ESI letters.
                                               reviewed Defendant's meet and confer letter re Saucillo's
                                               responses to RFP 1, reviewed responses in conjunction with
  1/3/2014 Christina A. Humphrey           0.5 letter.

  1/6/2014 Christina A. Humphrey           0.2 edited letter re 30(b)(6) and finalized/sent out.
                                               Review Swift's MJOP re: wage claims and set up outline for
  1/6/2014 Stanley D. Saltzman            5.75 opposition
                                               Review Dilts, Aguiar, Esquivel, Cole, Swift Order Granting
                                               MJOP re: meal and rest Break claims, Jasper, Mendez,
  1/6/2014 Leslie H. Joyner               4.25 Brown, Dillingham, Quezada, Burnham, Campbell.
                                               Set up and begin Drafting MJOP sections on Plaintiffs claims;
                                               Wage order 9; LC section 200; effect of wage laws on prices,
  1/6/2014 Leslie H. Joyner                3.5 routes, services; Burnham.
                                               reviewed ESI letters (all of them sent in the case) to prepare
  1/7/2014 Christina A. Humphrey           1.1 for drafting of latest ESI letter.

  1/7/2014 Leslie H. Joyner                1.5 Draft intro to opposition to MJOP wage claims

  1/7/2014 Leslie H. Joyner               0.25 Call with Ninth Circuit Mediator
                                               Assessment conference with 9th Circuit mediator Lisa Jaye to
                                               determine whether or not the case is appropriate for
  1/7/2014 Christina A. Humphrey           0.3 mediation.
                                               examined Rule 27 and Rutter guide re: filing a motion to stay
  1/7/2014 Christina A. Humphrey           0.2 appellate proceedings pending outcome of Dilts.



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                                              drafted email to opposing counsel re meet and confer stay
 1/7/2014 Christina A. Humphrey           0.2 appeal pending dilts.

 1/7/2014 Leslie H. Joyner               1.25 re: motion to stay 9th circuit proceedings
                                              Drafting letter to respond to meet and confer letter re
                                              Saucillo's responses to RPD 1: responding to November 25
                                              meet and confer letter. Research whether or not plaintiffs
                                              must disclose names of those who Plaintiff sent a precert
 1/7/2014 Christina A. Humphrey           1.1 letter to.
                                              Draft Motion to Stay Appellate proceedings pending 9th
 1/7/2014 Leslie H. Joyner                5.5 circuit decision in Dilts and Campbell
                                              Research and meetings re. motion to stay pending appellate
 1/7/2014 Stanley D. Saltzman             3.7 review

 1/8/2014 Susan Joseph                      7 Prepare supplemental discovery responses
                                              drafted meet and confer letter discovery, and researched
                                              whether or not Plaintiff has to produce information received
 1/8/2014 Christina A. Humphrey           2.2 from putative class members.

 1/8/2014 Leslie H. Joyner                4.4 Finish Motion to Stay appellate proceedings
                                              drafted meet and confer letter re Swift's responses to
 1/8/2014 Christina A. Humphrey           1.8 Saucillo's RPD 2.

 1/8/2014 Leslie H. Joyner                  4 revise and draft introduction to Ps' opp mjop wage claims

 1/9/2014 Susan Joseph                    2.5 Prepare supplemental discovery responses
                                              Researched ESI discovery issues; reviewed all prior drafts of
                                              ESI letters in this case, reviewed discovery in conjunction
                                              with ESI, drafted letter in response to Defendant's December
 1/9/2014 Christina A. Humphrey           7.2 13, 2013, ESI letter.

 1/9/2014 Leslie H. Joyner                  9 Draft Opposition to MJOP - wage claims

1/13/2014 Susan Joseph                    0.5 Prepare supplemental discovery responses.
                                              edited Sacillo's responses to RPD 1, and accompanying meet
1/13/2014 Christina A. Humphrey           2.2 and confer letter.

1/13/2014 Christina A. Humphrey           0.2 edited Saucillo's initial disclosures.

1/13/2014 Christina A. Humphrey           0.5 reviewed motion to stay proceedings.
                                              Work on Opp to MJOP - scope of preemption, burnham and
1/13/2014 Leslie H. Joyner                9.5 weight of authority sections
                                              Research and work on preemption issues raised in latest
1/13/2014 Stanley D. Saltzman             6.5 motion from D
                                              Communications re plaintiffs' supplemental discovery
1/14/2014 Susan Joseph                    0.5 responses.
                                              read through draft of motion so far, make edits and
                                              restructure sections, complete section on burnham, weight of
1/14/2014 Leslie H. Joyner               10.6 authority and begin section specific to prices.
                                              Edit and finalize Motion to stay appellate proceedings. Draft
1/15/2014 Leslie H. Joyner               2.25 declaration of CAH and add cites to motion.
                                              Draft joint stip re: motion to compel PMK and doc production
1/15/2014 Leslie H. Joyner                6.5 re customer contracts/pricing
                                              Discovery review, index and summary; assist with motion to
1/16/2014 Susan Joseph                    3.5 compel.




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                                              Finish Motion to Compel Depo and Doc Requests; draft Decl
1/16/2014 Leslie H. Joyner                5.5 of CAH, locate and prepare Exhibits A-H

1/17/2014 Leslie H. Joyner                3.5 Finalize Motion to compel and prepare for filing

1/17/2014 Leslie H. Joyner                  1 preparing and filing motion to stay
                                              Revise opposition to Swift's MJOP and begin addressing the
1/17/2014 Leslie H. Joyner                4.5 derivative claims section

1/21/2014 Christina A. Humphrey           4.7 edited opp motionf or judgment pleadings.

1/23/2014 Susan Joseph                    0.5 Class member interview.
                                              Make revisions and addition to opposition per Saltzman and
                                              Humphrey's edits and notes. Begin building remainder of
                                              effect on prices section. Draft Declaration of CAH, Prepare
1/23/2014 Leslie H. Joyner                  9 RFJN and exhibits.

1/23/2014 Leslie H. Joyner                  1 Draft services and routes sections of Opp

                                              Proof read opposition, finish drafting derivative claim section,
1/24/2014 Leslie H. Joyner                5.5 format document, create and insert tables, finalize for filing
                                              Read, review and edit near final draft of opp to motion for
1/24/2014 Stanley D. Saltzman            5.25 JOP

1/27/2014 Leslie H. Joyner                1.5 Draft subpoena for documents to comdata
                                              Resrach filing for motion to compel, process, page lengths,
1/27/2014 Leslie H. Joyner                0.5 section page lengths
                                              Researched discoverablility of docs sent to Plaintiffs by class
                                              members, and applicability of attorney client privilege and
1/28/2014 Christina A. Humphrey           0.5 work product doctrine.
                                              reviewed documents from Michael Fisher, Melvin Jones, and
1/28/2014 Christina A. Humphrey           1.7 Thomas Ball, drafted email summarizing.

                                              Draft Meet and confer letter regarding Defendant's responses
1/29/2014 Leslie H. Joyner                3.5 to Plaintiffs' RFPs Set No. 2 and documents produced.
                                              Finalized 2 meet and confer letters and supplemental
1/30/2014 Christina A. Humphrey           0.9 discovery responses. - dated January 30. Saucillo.
                                              Summarize FAAAA cases in an email for hearing on MJOP,
                                              in particlar mendonca, rowe and pelkey and the cases upon
3/17/2014 Leslie H. Joyner                4.2 which D's rely.

3/27/2014 Leslie H. Joyner               0.25 Review Order denying MJOP RE wage claims

4/14/2014 Susan Joseph                    0.5 Review file re status of PMK

                                              prepared for conference call with counsel by reviewing prior
4/14/2014 Christina A. Humphrey           1.8 discovery and correspondence pertaining to discovery.
                                              conference call with opposing counsel re case
4/14/2014 Christina A. Humphrey           0.5 update/discovery.

4/14/2014 Leslie H. Joyner                3.8 Review discovery, PMk notice - where we left off. summarize

4/14/2014 Leslie H. Joyner                0.5 meet and confer with OPC re: reviving discovery
                                              Research re. American pipe - tolling of SOL while meal and
4/14/2014 Stanley D. Saltzman             4.5 rest break claims are on appeal




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                                              reviewed prior depo notices (3) and located former
                                              corresondence relating to depo notices, crafted email
                                              summarizing position re upcoming 30(b)(6) notices in
4/21/2014 Christina A. Humphrey           2.1 preparation for conference call with opp counsel.

4/21/2014 Susan Joseph                      5 Discovery review, index and summary.

4/22/2014 Susan Joseph                      3 Discovery review, index and summary.

4/23/2014 Susan Joseph                      5 Discovery review, index and summary.

4/24/2014 Susan Joseph                      2 Discovery review, index and summary.

4/25/2014 Susan Joseph                      3 Discovery review, index and summary.

4/28/2014 Susan Joseph                      2 Discovery review, index and summary.
                                              Meet and confer with Cowie re: outstanding discovery issues
4/29/2014 Leslie H. Joyner               0.25 and pmk depos

5/13/2014 Susan Joseph                      2 Discovery review, index and summary.

5/15/2014 Leslie H. Joyner               3.33 Meet and confer re written discovery

5/16/2014 Leslie H. Joyner                0.5 Add PMK info to meet and confer letter

5/16/2014 Leslie H. Joyner                0.5 Draft status report re stay in 9th circuit

5/29/2014 Susan Joseph                   0.25 Communications

 6/4/2014 Leslie H. Joyner               0.25 Finalize and send Meet and confer letter

 6/9/2014 Susan Joseph                   0.75 Communications

 6/9/2014 Susan Joseph                      2 Deposition review

6/10/2014 Susan Joseph                      2 Deposition review

6/12/2014 Susan Joseph                      4 Deposition preparation and review.

6/16/2014 Susan Joseph                   0.25 Comunciations.
                                              Fly to Phoenix to take deposition of PMK Ruchensky; take
6/17/2014 Christina A. Humphrey            14 depo and return travel to L.A.

6/17/2014 Susan Joseph                      7 Participate in Deposition via Telephone from office.

6/19/2014 Susan Joseph                    0.3 Communications

6/23/2014 Susan Joseph                      1 Communications; deposition review.
                                              Travel to downtown L.A. for Deposition of 30b6 Arnold - tasks
6/24/2014 Christina A. Humphrey           8.5 and duties of class members; return travel to office

6/24/2014 Susan Joseph                    0.5 Case management meeting with attorney.

6/24/2014 Susan Joseph                    3.5 Research experts




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                                              Researched Swift/Qualcomm's legal obligation to preserve
                                              electronic data, reviewed depo transcript and Omnitracs
                                              information to determine whether or not SWift has met its
6/26/2014 Christina A. Humphrey           7.5 obligation.

6/26/2014 Susan Joseph                   0.25 Confer with attorney.
                                              conference call with data expert Winston Krone re electronic
                                              data issues in Swift. Spent 45 minutes sending him
                                              documents needed for review/along with emails explaining
6/27/2014 Christina A. Humphrey           1.2 data and circumstances.

6/27/2014 Susan Joseph                    1.5 Confer with Winston Krone (2x)
                                              conference call with Winston Krone re electronic data
6/27/2014 Christina A. Humphrey           1.1 preservation and prep for Qualcomm depo.
                                              prepared for depo of Qualcomm by reviewing prior depo
                                              transcript from JB Hunt case, reviewing omni tracs brochures
6/27/2014 Christina A. Humphrey           7.1 and handouts, formulated outline.
                                              Worked with Ms. Humphrey in preparing for critical Omnitracs
6/27/2014 Stanley D. Saltzman             5.5 deposition
                                              Work with Ms. Humphrey in final prep for the Omnitracs
6/29/2014 Stanley D. Saltzman             4.5 deponent

6/29/2014 Christina A. Humphrey             6 Final prep for the deposition of the Omnitracs witness

6/30/2014 Susan Joseph                      3 Prepare for and review depositions.
                                              Drive to San Diego to take Omnitracs witness depo, take the
6/30/2014 Christina A. Humphrey            11 depo and return drive to office in L.A.

6/30/2014 Susan Joseph                    3.5 Participate in Omnitracs depo via telephone from the office.

 7/1/2014 Susan Joseph                   0.25 Communciation.
                                              Prepare witness packets.
 7/1/2014 Susan Joseph                    0.5

 7/3/2014 Susan Joseph                    2.5 Prepare witness packets.

 7/3/2014 Susan Joseph                    2.5 Deposition preparation and review.

 7/7/2014 Susan Joseph                    0.3 Communciations.

 7/8/2014 Susan Joseph                      1 Prepare witness packets for deposition.
                                              Review Ninth circuit decision in Dilts and order regarding
 7/9/2014 Leslie H. Joyner                  1 stay. Prepare notice of recent decision.
                                              legal research on motion to remand in light of Dilts; set up
7/10/2014 Leslie H. Joyner                5.5 and draft Motion

7/10/2014 Leslie H. Joyner                0.2 Draft email urging defense counsel to stip to remand re dilts

7/25/2014 Leslie H. Joyner                4.5 summary reversal - 9th
                                              review and summarize current status of discovery due for
7/29/2014 Leslie H. Joyner                4.7 both parties.
                                              Deposition review.
 8/5/2014 Susan Joseph                      4

8/20/2014 Susan Joseph                      7 Discovery and deposition review.




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 8/24/2014 Leslie H. Joyner               8.25 Draft Motion for Summary reversal - 9th Circuit

 8/25/2014 Christina A. Humphrey           2.3 reviewed final draft of motion and stiuplation to remand.
                                               Deposition review and summary; confer with attorney re
 8/26/2014 Susan Joseph                      2 same.

 8/27/2014 Susan Joseph                   1.75 Discovery review, index and summary; confer with attorney.
                                               Reviewed draft of letter re status of retention of written logs.
 8/27/2014 Christina A. Humphrey           0.2 Spoke with Susan about deposition testimony.

 8/28/2014 Susan Joseph                      1 Review discovery.

                                               Conference call with Paul Cowie re meet and confer
                                               discovery written logs and 30b6 re preservation issues. Case
 9/25/2014 Christina A. Humphrey           1.1 management meeting with Susan and Stan following (.2).

11/13/2014 Susan Joseph                      2 Review, index and summarize discovery.
                                               Reviewed prior PMQ notices, prior emails, Arnold depo, and
                                               emailed opposing counsel about lifting stay and new potential
11/25/2014 Christina A. Humphrey           1.8 dates for PMQ in Arizona.
                                               call with opposing counsel Paul Cowie re status of case and
                                               whether not to remand to trial court for rebriefing of Dilts.
12/15/2014 Christina A. Humphrey           1.1 Discussed issue with STan.

12/16/2014 Leslie H. Joyner                1.5 draft stip re remand for 9th circuit
                                               reviewed documents and objections produced pursuant to
                                               PMK categoriy nos. 14-22, propounded new PMK depo
  1/6/2015 Christina A. Humphrey           2.1 requests.

 2/20/2015 Christina A. Humphrey           0.1 email re opposing counsel re dates for PMK depo.

 2/23/2015 Susan Joseph                    1.5 Review and summarize deposition.

                                               reviewed Susan's email summarizing John Arnold's testimony
                                               as it pertains to Category No. 9, email Paul Cowie, viewed
 2/27/2015 Christina A. Humphrey           0.3 history of communications as it pertains to PMK depos.
                                               met and conferred with opposing counsel re PMK categories
  3/2/2015 Christina A. Humphrey           0.9 and class definition.
                                               Depo prep
  3/2/2015 Susan Joseph                      2

  3/3/2015 Susan Joseph                      6

  3/4/2015 Susan Joseph                    5.5
                                               Travel to Phoenix early morning to take depo of corporate
  3/5/2015 Leslie H. Joyner               10.5 witness Robin Rohwer, and return travel to L.A. same day.

 3/10/2015 Susan Joseph                      6 Depo Prep
                                               To LAX for flight to Phoenix for depo tomorrow, flight and
 3/10/2015 Stanley D. Saltzman               7 then travel to Hotel; final prep for depo

 3/11/2015 Susan Joseph                      7
                                               In Phoenix to take the deposition of corporate witness Sara
 3/11/2015 Stanley D. Saltzman             7.5 Koogle, and return flight to L.A.




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                                              prepared for document preservation deposition by reviewing
                                              most recent 2 depos of Comdata, class list, all emails with
                                              defense counsel re preservation, Michael Hine depo and
3/13/2015 Christina A. Humphrey           8.8 30b6 on electronic databases.

3/13/2015 Susan Joseph                      2

3/16/2015 Susan Joseph                      4

3/17/2015 Susan Joseph                    5.5
                                              Prepared for second session of deposition of Rochensky.
                                              Travel to Phoeniz AZ, 1 hour conference call with Winston
                                              Krone (e-expert), IT expert George, extensive review of
                                              Rochensky's first volume of deposition and Michael Hein's
3/18/2015 Christina A. Humphrey           15 deposition.
                                              Deposition of Rochensky vol. 2, 6.5 hours depo and travel
3/19/2015 Christina A. Humphrey          12.7 back to Burbank CA from Phoenix AZ.

3/19/2015 Susan Joseph                    7.5

 4/6/2015 Susan Joseph                      1
                                              email to opposing counsel re depostion of payroll person and
                                              meet and confer on various documents/data that has not
 4/9/2015 Christina A. Humphrey             1 been produced.

4/17/2015 Susan Joseph                    7.5

4/20/2015 Susan Joseph                      2

4/21/2015 Susan Joseph                      2

4/22/2015 Susan Joseph                      1

4/23/2015 Susan Joseph                      1

4/24/2015 Susan Joseph                   3.05

5/15/2015 Christina A. Humphrey           7.5 Preparation for depo of PMK Malchesky; work with SDS
                                              Work with Ms. Humphrey to prepare for the Malchesky depo
5/15/2015 Stanley D. Saltzman             5.5 next monday in Phoenix.
                                              Travel to LAX for flight to Phoenix for Malchesky depo; on to
5/17/2015 Christina A. Humphrey             7 hotel and do final prep for the depo

5/18/2015 Susan Joseph                    1.5 Draft PMK notice

5/18/2015 Susan Joseph                   0.25 Re PMK Notice, Category 4
                                              Take depo of corporate witness Malchesky in Phoenix; return
5/18/2015 Christina A. Humphrey             8 travel to L.A.
                                              emailed Paul Cowie to follow up on dates for depo,
                                              documents, and proposed dates for depo and reviewed
 6/5/2015 Christina A. Humphrey             1 discovery production re meal and rest breaks.

 6/5/2015 Susan Joseph                      1
                                              emailed Paul Cowie re meet and confer dates on deposition
                                              and status of case re remand from ninth circuit. Checked
 6/8/2015 Christina A. Humphrey           0.2 dates for depsotion.



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6/12/2015 Susan Joseph                      6

6/16/2015 Susan Joseph                      1

6/16/2015 Susan Joseph                      1

6/17/2015 Susan Joseph                      7

6/18/2015 Susan Joseph                    3.5

6/18/2015 Susan Joseph                    3.5
                                              reviewed data in preparation for deposition of compensation
6/18/2015 Christina A. Humphrey             4 PMK.

6/19/2015 Susan Joseph                    2.5

6/19/2015 Susan Joseph                      1

6/22/2015 Susan Joseph                   4.25
                                              meeting with STan and Susan to review documents pulled in
6/22/2015 Christina A. Humphrey           1.1 preparation for deposition PMQ 4 comopensation.
                                              travel to Phoenix Arizona and preparation for deposition of
6/22/2015 Stanley D. Saltzman               7 PMQ 4 compensation structure of drivers.
                                              emailed Paul Cowie re issues Saucillo and docs for
6/23/2015 Christina A. Humphrey           0.2 deposition.
                                              Depo of PMK James Fitzsimmons in Phoenix; return travel to
6/23/2015 Stanley D. Saltzman              12 L.A. and then on to home.

7/13/2015 Susan Joseph                      3 Prepare witness packets

                                              Travel to San diego for deposition, prepare for deposition by
                                              preparing outline, reviewing documents including driver
7/13/2015 Christina A. Humphrey           6.2 manuals, payroll records, and prior deposition transcripts.

7/14/2015 Susan Joseph                    0.5

7/14/2015 Susan Joseph                    0.5

                                              Deposition of Carlos Pinero, met and conferred with counsel
7/14/2015 Christina A. Humphrey           6.5 over numerous issues, travelled back from San Diego.

8/12/2015 Susan Joseph                    0.5

8/31/2015 Susan Joseph                    0.3

9/17/2015 Susan Joseph                    0.5

10/1/2015 Christina A. Humphrey           0.5 drafted status conference statement.

10/2/2015 Christina A. Humphrey           0.5 spoke to Paul Cowie re case and finalized CMC statement.
                                              travelled to Riverside and attended case management
10/5/2015 Christina A. Humphrey             5 conference with Court.
                                              travelled to Riverside and attended case management
10/5/2015 Stanley D. Saltzman               5 conference with Court.




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                                               EDD hearing and meet and confer opposing counsel re
10/13/2015 Christina A. Humphrey             1 Gilbert Saucillo.

10/22/2015 Susan Joseph                      1
                                               met and conferred with Paul Cowie re meal and rest break
10/23/2015 Christina A. Humphrey           0.5 PMQ.

10/26/2015 Susan Joseph                    3.5

                                               reviewed letter from Paul Cowie re Burnell and Saucillo
10/26/2015 Christina A. Humphrey           0.3 discovery responses and met with Susan re supplementing.

10/27/2015 Susan Joseph                    0.5

10/27/2015 Susan Joseph                    0.5

10/28/2015 Susan Joseph                    6.5 Data review

10/29/2015 Susan Joseph                    7.5 Data reiew; confer with Christina Humphrey re same
                                               reviewed prior discovery propounded as to meal and rest
                                               breaks, prior meet and confer letters, and drafted meet and
10/30/2015 Christina A. Humphrey           1.3 confer letter to opposing counsel.
                                               drafted meet and confer email re burnell and saucillo's prior
10/30/2015 Christina A. Humphrey           1.1 discovery responses.

 11/2/2015 Susan Joseph                   2.75

 11/2/2015 Christina A. Humphrey           1.2 drafted meet and confer letter re electronic discovery.
                                               drafted emails confirming deposiiton availability, and meeting
 11/2/2015 Christina A. Humphrey           0.5 and conferring re meal and rest break pmq.

 11/3/2015 Susan Joseph                    0.2 Telephone conference with expert

 11/3/2015 Susan Joseph                      3 Data review

 11/4/2015 Susan Joseph                    0.5 Draft PMK notice
                                               Data and discovery review; meet with Christina Humphrey re
                                               same; telephone conference re same; draft transmittal letter
 11/9/2015 Susan Joseph                      3 re release
                                               reviewed discovery responses, supplemental discovery,
                                               spoke to John Burnell, and Gilbert Saucillo regarding
 11/9/2015 Christina A. Humphrey           2.1 additional docs, met with Susan Joseph.

11/10/2015 Susan Joseph                      5

11/15/2015 Christina A. Humphrey           0.3 prepared Gilbert Saucillo for EDD hearing.

11/16/2015 Susan Joseph                      7 Document review and depo prep
                                               prepared for meal and rest break PMQ, reviewed docs and
                                               policies produced, as well as Brinker and meal and rest break
11/17/2015 Christina A. Humphrey           8.9 cases.
                                               PMQ deposition meal and rest breaks in Phoenix, AZ. Travel
11/18/2015 Christina A. Humphrey           6.1 back.
                                               drafted PMQ re rest of meal and rest break issues; meet and
                                               confer re remaining discovery, email to Ron Holland re status
11/25/2015 Christina A. Humphrey           2.1 of depos.



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 12/2/2015 Susan Joseph                    2.6 prepared for and attended EDD hearing with Plaintiff Saucillo.

 12/4/2015 Susan Joseph                   0.25 Telephone conference with expert re data formatting

 12/4/2015 Susan Joseph                      1
                                               reviewed Burnell's documents, reviewed data, and met with
 12/7/2015 Christina A. Humphrey          10.5 Burnell to discuss deposition for next day.
                                               Join Ms. Humphrey and client Burnell for full day of prep for
 12/7/2015 Stanley D. Saltzman              10 his depo the next day.
                                               Defended deposition of John Burnell in Costa Mesa (9:30 - 7
 12/8/2015 Christina A. Humphrey            14 pm) and travelled back to Agoura Hills from OC.
                                               Conduct initial meeting with Saucillo in prep for his depo next
 12/8/2015 Stanley D. Saltzman               6 week.
                                               reviewed deposition of John Burnell and prepped for
12/13/2015 Christina A. Humphrey           2.7 Saucillo's deposition.

12/14/2015 Susan Joseph                      5
                                               Drive downtown to meet with client for his pre-depo meeting,
12/14/2015 Stanley D. Saltzman             8.5 conduct meeting, and drive back to office.
                                               Drive downtown for depo of client Saucillo, defend his depo
12/15/2015 Stanley D. Saltzman               9 and return to office in AH
                                               met and conferred re electronic discovery and docs to be
12/16/2015 Christina A. Humphrey             1 produced.

12/21/2015 Susan Joseph                      3

12/24/2015 Leslie H. Joyner                4.5 Drafting
                                               Reviewed John Burnells' depo transcript with Stan saltzman
                                               re Burnell's docs produced, reviewed email explaining doc
12/26/2015 Christina A. Humphrey           2.7 production, reviewed logs produced.
                                               Extensive meeting with Ms. Humphrey to go over the Burnell
                                               document production issues that came up at his depo, and
12/26/2015 Stanley D. Saltzman             2.7 how to handle them.
                                               Created declarant outline and met with Stan, Tina, Leslie,
  1/4/2016 Christina A. Humphrey             3 Susan about strategy re declarations and discuss.

  1/4/2016 Susan Joseph                    0.5

  1/4/2016 Susan Joseph                      7
                                               Team meeting regarding handling of anticipated decs of class
                                               members in support of certification motion, and review of
  1/4/2016 Stanley D. Saltzman               3 likely candidates.
                                               Extensive review of all summaries of many dozens of putative
                                               class member interviews, to begin selecting the hoped for
  1/4/2016 Stanley D. Saltzman             4.5 declarants. (partial)

  1/5/2016 Susan Joseph                    3.5

  1/5/2016 Susan Joseph                    3.5
                                               Continue declarant selection process in conjunction with Ms.
  1/5/2016 Stanley D. Saltzman               5 Joseph
                                               prepared for deposition by reviewing qualcomm data, prior
                                               qualcomm deposition, trip plan data, qtracs software guide,
  1/6/2016 Christina A. Humphrey            10 and prior deposition testimony re electronic data.




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 1/6/2016 Susan Joseph                    0.5
                                              reviewed deposition of Victor Malchesky in preparation for
 1/6/2016 Christina A. Humphrey           2.2 PMQ Meal and Rest break categories 25 and 26.
                                              Travel to Phoenix for depo of PMK Hessler, and finish prep
 1/6/2016 Christina A. Humphrey           6.5 for the depo
                                              Work with Ms. Humphrey and Ms. Joseph in prepping for
 1/6/2016 Stanley D. Saltzman             4.5 depo of Hessler tomorrow in Phoenix
                                              deposition of PMQ trip plans and PMQ qualcomm messaging
 1/7/2016 Christina A. Humphrey            12 data, travel back to LA from Phoenix.

 1/7/2016 Susan Joseph                      3

 1/7/2016 Susan Joseph                    4.5

 1/8/2016 Susan Joseph                    5.5
                                              reivewed depositions of Hessler, Malchesky, and Ruchensky,
                                              summarized points in support of class cert re meal and rest
1/10/2016 Christina A. Humphrey           6.3 breaks, damages.
                                              Work with Ms. Humphrey re PMK deposition review to cull
1/10/2016 Stanley D. Saltzman             5.5 out relevant testimony for class cert motion.

1/11/2016 Leslie H. Joyner               11.5 Motion work - Class Certification

1/11/2016 Susan Joseph                      6

1/11/2016 Stanley D. Saltzman             7.5 Assist with Motion Work - Class Certification

1/12/2016 Leslie H. Joyner                 12 Continue Motion Work - Class Certification

1/12/2016 Susan Joseph                   8.25

1/13/2016 Leslie H. Joyner                 11 Continue Motion Work - Class Certification

1/13/2016 Susan Joseph                      8

1/13/2016 Stanley D. Saltzman             8.5 Assist with Motion Work - Class Certification

1/14/2016 Leslie H. Joyner                  9 Assist with Motion Work - Class Certification

1/14/2016 Susan Joseph                     11

1/14/2016 Christina A. Humphrey            11 Assist with Motion Work - Class Certification
                                              Editing and reviewing of the certification motion and review
1/14/2016 Marcus J. Bradley               5.5 some of the declarations.

1/15/2016 Leslie H. Joyner                  9

1/15/2016 Susan Joseph                      9 Assist with Motion Work - Class Certification

1/15/2016 Stanley D. Saltzman               9 Assist with Motion Work - Class Certification

1/16/2016 Susan Joseph                    8.5

1/18/2016 Susan Joseph                    6.5




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1/18/2016 Leslie H. Joyner                  5

1/19/2016 Susan Joseph                     11

1/19/2016 Leslie H. Joyner               11.5 Assist with Motion Work - Class Certification

1/19/2016 Stanley D. Saltzman             5.8 Touch base with class members. Prepare drafts of decs.
                                              Worked on cert brief; edited 3 class member declarations and
1/19/2016 Christina A. Humphrey           8.8 2 rep plaintiff declarations.

                                              Assist with Motion Drafting - Class Certification; also
1/20/2016 Christina A. Humphrey           8.2 Interviewed additonal class members. Work on declarations
                                              Assist with Motion Work - Class Certification; worked on decs
1/20/2016 Susan Joseph                      6 and damages issues
                                              Assist with Motion Work - Class Certification, and research of
1/20/2016 Leslie H. Joyner                 12 further cases.
                                              Assist with Motion Work - Class Certification; Finalize Decs
1/20/2016 Stanley D. Saltzman             8.5 for class cert from class members.

1/21/2016 Stanley D. Saltzman             7.5 Assist with Motion Work - Class Certification

1/21/2016 Marcus J. Bradley                 9 Entire day working on editing draft of motion for cert.

1/21/2016 Susan Joseph                     10 Assist with Motion Work - Class Certification

1/21/2016 Leslie H. Joyner                6.5 Assist with Motion Work - Class Certification

1/21/2016 Christina A. Humphrey           6.8 edited class certificaiton motion.

1/22/2016 Susan Joseph                   7.75

1/22/2016 Leslie H. Joyner                7.5
                                              Edited and reviewed adequacy dec, notice of motion,
1/22/2016 Christina A. Humphrey           5.4 proposed order, and P & As.

1/25/2016 Susan Joseph                      2

 2/5/2016 Susan Joseph                      1
                                              Travel to and defend session 2 of Saucillo depo, and return
2/10/2016 Stanley D. Saltzman             9.5 drive to Agoura Hills.

2/16/2016 Susan Joseph                      4
                                              reviewed and revised stip to dismiss 3rd and 5th causes of
2/21/2016 Christina A. Humphrey           0.3 action, emailed opposing counsel.

3/24/2016 Susan Joseph                   1.25 Data analysis; meeting with attorneys re same

3/29/2016 Susan Joseph                   0.75

 4/1/2016 Leslie H. Joyner                9.5 Reply
                                              Review and analysis of D's opp to the cert motion; frame
 4/1/2016 Stanley D. Saltzman             5.5 issues for Reply brief.
                                              Review Reply re. Cert; analyse issues; meet with Mr.
 4/2/2016 Leslie H. Joyner                 11 Saltzman




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 4/3/2016 Leslie H. Joyner                 10 Begin outlining Reply brief; consult with Mr. Saltzman

 4/3/2016 Stanley D. Saltzman             7.5 Further study of Reply brief issues; work with Ms. Joyner

 4/4/2016 Leslie H. Joyner                 16 reply

                                              Drafting of extensive responses to D's objections to Plaintiffs'
 4/4/2016 David C. Leimbach                11 evidence in support of the motion to certify. (partial)

 4/5/2016 Leslie H. Joyner                 12 reply

 4/5/2016 Susan Joseph                      9
                                              Drafted sections of the Reply brief and edited other sections
 4/5/2016 Christina A. Humphrey            12 drafted by Saltzman and Joyner.
                                              Edited portions of the brief; and worked on major revisions to
                                              bring the extensive brief within page limits in preparation for
 4/5/2016 Stanley D. Saltzman              12 filing.
                                              Continue preparation of extensive responses to D's
 4/5/2016 David C. Leimbach                12 objections to our evidence re. Cert

 4/6/2016 Leslie H. Joyner                7.5 Reply

 4/6/2016 Susan Joseph                      9 Assist with working up details needed for the Reply brief.
                                              Completion of the responses to evidentiary objections;
 4/6/2016 David C. Leimbach               6.5 prepare in final edited form per Court rules.
                                              Worked with team on finalizing all aspects of the Reply brief
 4/6/2016 Stanley D. Saltzman             6.5 and overall submission.
                                              Morning and afternoon helping get all portions of the Reply
 4/6/2016 Stanley D. Saltzman             5.5 papers completed, and ready for filing.

4/14/2016 Susan Joseph                      2
                                              met and conferred with John Ellis re documents filed under
4/14/2016 Christina A. Humphrey           0.3 seal.
                                              meet and confer re application to file under seal with
4/15/2016 Christina A. Humphrey           0.3 opposing counsel.
                                              meet and confer re motion to file under seal with opposing
4/19/2016 Christina A. Humphrey           0.4 counsel, drafted email.

4/20/2016 Susan Joseph                      3 Assist with class certification motion.

4/23/2016 Christina A. Humphrey            12 Prepared for motion for class certification hearing.
                                              Assist with initial day of preparation for upcoming cert
4/23/2016 Stanley D. Saltzman              10 hearing.

4/23/2016 Stanley D. Saltzman             8.5 Participate in mediation with Mr. Rudy
                                              Continued preparation for motion for class certification
4/24/2016 Christina A. Humphrey            12 hearing.

4/24/2016 Stanley D. Saltzman              10 Continued prep for cert hearing.

4/24/2016 Leslie H. Joyner                 12 Assist partners in preparing for certification hearing.
                                              Travelled to Los Angeles, attended and argued motion for
4/25/2016 Christina A. Humphrey           5.8 class certification.

4/25/2016 Christina A. Humphrey             5 prepared for motion for class certification.




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                                              Morning prep for, and travel downtown for afternoon cert
4/25/2016 Stanley D. Saltzman              10 hearing.

4/25/2016 Leslie H. Joyner                  6 Attend and assist partner Christina Humphrey at cert hearing.
                                              Meeting with team re denial of cert, and begin working on
 5/4/2016 David C. Leimbach               9.1 research regarding the 23f Appellate petition
                                              Review order denying motion to certify; meeting with team to
 5/4/2016 Stanley D. Saltzman             3.5 go over appellate review issues
                                              Review denial of cert order and meet regarding approach to
 5/4/2016 Christina A. Humphrey           3.5 appeal via 23f.

 5/5/2016 David C. Leimbach              10.5 Further research re the Swift Appellate Brief

 5/6/2016 David C. Leimbach               8.7 Commence drafting of the Swift Appellate Brief

 5/6/2016 Stanley D. Saltzman             7.5 Assist Mr. Leimbach with the drafting of the 23f petition.

 5/7/2016 David C. Leimbach               8.3 Continued drafting of the Swift Appellate Brief

 5/8/2016 David C. Leimbach                10 Continued drafting of the Swift Appellate Brief
                                              Review portions of the appellate brief already written, and
 5/8/2016 Stanley D. Saltzman             7.5 edit some and suggest edits to other portions.

 5/9/2016 David C. Leimbach                 9 Draft Swift Appellate Brief

5/10/2016 David C. Leimbach               8.6 Draft Swift Appellate Brief

5/11/2016 David C. Leimbach               8.3 Draft Swift Appellate Brief

5/12/2016 David C. Leimbach              10.2 Draft Swift Appellate Brief

5/13/2016 David C. Leimbach              11.4 Draft Swift Appellate Brief

5/13/2016 Stanley D. Saltzman             8.3 Review and edit updated draft of the 23f petition

5/14/2016 David C. Leimbach              10.7 Further work on drafting of Swift Appellate Brief

5/17/2016 David C. Leimbach               6.8 edit and finalize appellate brief
                                              Draft appellate reply brief; and extended meeting with Mr.
5/20/2016 David C. Leimbach              10.4 Saltzman regarding presenation of a couple of the issues.

                                              Further review of newly updated draft of 23f petition; prepare
5/20/2016 Stanley D. Saltzman               9 edits and discuss all issues again with Mr. Leimbach.

5/21/2016 David C. Leimbach               9.6 Draft appellate reply brief

5/22/2016 David C. Leimbach               8.8 Draft appellate reply brief

5/22/2016 Stanley D. Saltzman               5 Review and revise currrent version of the 23f petition.

5/23/2016 David C. Leimbach               8.5 Draft appellate reply brief

5/24/2016 David C. Leimbach               8.9 Draft appellate reply brief
                                              Edit and later finalize swift appellate brief for filing with the 9th
5/25/2016 David C. Leimbach              11.6 Circuit.




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                                                     Work with Mr. Leimbach with final editing of the 23f petition.
 5/25/2016 Stanley D. Saltzman                   7.5 Approve for filing.
                                                     Conference call with co-counsel in Rudsell regarding possible
 2/15/2017 Stanley D. Saltzman                   1.9 mediation

12/18/2017 Stanley D. Saltzman                   3.4 Work up various issues regarding mediation
                                                     Discussions re. mediation, approach to same, and review
 4/10/2018 Stanley D. Saltzman                   5.5 data and damage workups.
                                                     Review of extensive data re. damage issues for mediation.
 4/17/2018 Stanley D. Saltzman                   7.5 Confer with Mr. Mauro

 4/21/2018 Stanley D. Saltzman                   8.5 Entire day working on mediation issues.

 4/22/2018 Stanley D. Saltzman                   0.8 Telecon with Mr. Rudy regarding mediation

 5/30/2018 Stanley D. Saltzman                   1.5 Confer regarding mediation follow up issues; still negotiating
                                                     Drafting of preliminary approval motion (beginning, and
 5/14/2019 Stanley D. Saltzman                   8.5 partial)
                                                     Further extensive work on motion for approval, and
  6/1/2019 Stanley D. Saltzman                    10 declaration in support thereof.
                                                     Review motion redlines from co-counsel; and discuss other
  6/3/2019 Stanley D. Saltzman                   4.5 issues to address

 6/23/2019 Stanley D. Saltzman                   1.5 Confer with all counsel regarding objection issues.

 6/24/2019 Stanley D. Saltzman                   2.4 Work on edits to objection response.

 8/12/2019 Stanley D. Saltzman                  5.5 Appear downtown for hearing on preliminary approval
                                                    Work on final approval motion and declarations of SDS and
11/16/2019 Stanley D. Saltzman                  6.5 client.
                                                    Work on all issues re finalizing the final approval motion and
11/18/2019 Stanley D. Saltzman                    7 supporting papers.
                                 TOTAL     2,513.21




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